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                                         IN THE
                              UNITED STATES DISTRICT COURT
                                        FOR THE
                              WESTERN DISTRICT OF VIRGINIA
                                   DANVILLE DIVISION

  UNITED STATES OF AMERICA                    )
                                              )
         v.                                   )       Criminal No. 4:18-cr-00012
                                              )
  DASHAWN ANTHONY                             )
                                              )

          UNITED STATES RESPONSE REGARDING SENTENCING HEARING

         The United States respectfully responds to the Court’s order (ECF No. 587) directing the

  parties to represent whether the sentencing hearing in this case can proceed by videoconference.

         The United States does not object and defers to the defendant. Any witness for the United

  States can appear by videoconference. Victims have also indicated their willingness to appear

  and speak by telephone.

                                              Respectfully submitted,

                                              THOMAS T. CULLEN
                                              United States Attorney

                                              s/Heather L. Carlton
                                              Ronald M. Huber
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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing has been electronically filed

  with the Clerk by CM/ECF system, which will send notification of such filing to all counsel of

  record, on this 11TH day of May, 2020.

                                                      s/Heather L. Carlton




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